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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                             WESTERN DIVISION
        AMBER QUITNO, individually
                                                       )
        and on behalf of all others
        similarly situated                        ,    )
                                      Plaintiff(s),    )
                                                       )    Case No. 1:18-cv-07598
         v.                                            )    Magistrate Judge Lisa A. Jensen
                                                       )
        GENERAL MOTORS LLC                             )
                                                    ,  )
                                      Defendant(s).    )

                                        JOINT INITIAL STATUS REPORT

                 The parties submit this joint initial status report in advance of the initial status hearing set
         for    5/22/2019 .

                  All parties who have appeared shall join in the filing of this initial status report. An
         initial status report must still be filed even if filed unilaterally.

         1.      Nature of the Case Including Legal Issues, Factual Issues, and Affirmative Defenses.

           For claims by or against only some parties, identify which.
Plaintiff's First Amended Complaint asserts that the brake system of her 2015 Chevrolet Tahoe suffers from a
defect that is allegedly common to several million GM vehicles, across multiple makes and model years.
Plaintiff individually asserts the following claims: violation of the Illinois Consumer Fraud and Deceptive
Business Practices Act; breach of implied warranty; violation of the federal Magnuson-Moss Warranty Act;
and unjust enrichment.

  Plaintiff seeks to certify the following class:

         All consumers who purchased or leased in Illinois a 2015 or newer Cadillac Escalade, 2014 or newer
         Chevrolet Silverado, 2015 or newer Chevrolet Suburban, 2015 or newer Chevrolet Tahoe, 2014 or
         newer GMC Sierra, or 2015 or newer GMC Yukon/Yukon XL.



Among its defenses to the First Amended Complaint, GM asserts that plaintiff fails to state a claim
and cannot maintain this action as a class action pursuant to Federal Rule of Civil Procedure 23. GM
reserves the right to assert additional affirmative defenses in any Answer to the First Amended Complaint.



         2.      Parties and Service

         Identify each individual plaintiff:        Amber Quitno
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Identify each individual defendant and the status of service. If more space is needed, attach
additional pages to the end of this report.

                                             Date            Date           Answer Due or
Defendant                                    Served          Appeared       Date Answered
General Motors LLC                         11/28/18          12/12/18         1/25/19

Plaintiff filed her First Amended Complaint on 03/22/19 and GM responded with a
motion to dismiss on 05/01/19.




For each defendant not served, describe the efforts to serve that defendant. If more space is
needed, attach additional pages to the end of this report.

Defendant                                    Efforts to Serve
 N/A




List any potential party the defendant(s) may seek to add as a third-party defendant.

Third-Party Defendant                        Basis of Liability

GM does not presently anticipate the addition of third-party defendants.



3.     Status of Settlement Discussions and the Potential for Settlement

The parties have not discussed settlement and do not believe such discussions
would be productive until after this Court resolves GM's pending motion to
dismiss.




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        4.    Identify any Parallel Cases (including but not limited to possible MDL litigation,
        underlying criminal proceedings, or related litigation).

        Case Name                       Case #        Court           Nature of Proceeding
Peckerar et. al v. General Motors LLC    5:18-cv-02153 C.D. Cal.      Consumer class action involving brake defects in
                                                                      same class vehicles for putative California class.
Compton et. al v. General Motors LLC 1:19-cv-00033 N.D. Fla.         Consumer class action involving brake defects in
                                                                      same class vehicles for putative Florida class.

        5.      Identify all Pending or Anticipated Motions

         Motion (including docket number                                                Date Filed or
        if already filed)                                                               Anticipated

        GM's Motion to Dismiss First Amended                                            5/1/19 (ECF No. 40)
        Complaint

        GM's Motion to Coordinate Discovery with Peckerar
        and Compton Actions

        Plaintiff’s Motion for Class Certification

        6.      Discovery

        During the initial status hearing the Court will likely set a deadline for submitting a proposed
        case management order at a later date. To help guide that discussion, the parties shall provide
        their best estimates formed after reasonable investigation and inquiry of the amount and scope of
        discovery in response to the following questions:

        The plaintiff(s) anticipate(s) taking about 15 depositions of fact witnesses.

        For claims involving medical conditions, the plaintiff has about treaters who are either
        (check one) all located in or near the Rockford/Chicago areas, or includes treaters located
        outside the Rockford and Chicago areas such as                                             .

        The plaintiff(s) (check one) anticipate(s) using about 3 retained expert witnesses,
        or do(es) not anticipate retaining expert witnesses.

        The defendant(s) anticipate(s) taking about10 depositions of fact witnesses. That number does
        not include any of the depositions the plaintiff(s) anticipate(s).

        The defendant(s) (check one) anticipate(s) using about 3 retained expert witnesses,
        or do(es) not anticipate retaining expert witnesses.

        The parties anticipate that fact discovery (which includes treating physician depositions)

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will take about 15 months.




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         7.         Consent to the Magistrate Judge

         (Must check one)

                                   All parties have appeared and will file a written consent to proceed before
                                   the Magistrate Judge for all purposes.

                                   Not all parties will consent to proceed before the Magistrate Judge.



         PLAINTIFF(S)                                        DEFENDANT(S)
                   AMBER QUITNO,                                       GENERAL MOTORS, LLC
                   Individually and On Behalf of
                   All Others Similarly Situated

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 8, 2019 the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to counsel of record.



                                            /s/ Kathleen Taylor Sooy
                                            Kathleen Taylor Sooy

                                            Counsel for Defendant General Motors LLC
